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                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

TEAM WORLDWIDE CORPORATION,

                         Plaintiff,

       v.                                         Case No. 2:17-cv-00235-JRG

WAL-MART INC., WAL-MART STORES
TEXAS, LLC, WAL-MART.COM USA LLC,
and SAM’S WEST, INC. d/b/a SAM’S CLUB,

                         Defendants.

    NOTICE TO THE COURT REGARDING CLARIFICATION OF THE RECORD

       Defendants Wal-Mart Inc., Wal-Mart Stores Texas, LLC, Wal-Mart.com USA LLC, and

Sam’s West, Inc. d/b/a Sam’s Club, and intervenor defendants Intex Recreation Corp. and Intex

Trading Ltd., Bestway (USA), Inc., and The Coleman Company, file this Notice of their letter to

the Court to clarify the record following the June 27, 2018 hearing. A copy of the letter is

attached as Exhibit 1.


Dated: June 28, 2018                         Respectfully submitted,

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                               CERTIFICATE OF SERVICE

         I hereby certify that on June 28, 2018, a copy of the foregoing document was filed

electronically in compliance with Local Rule CV-5(a). Therefore, this document was served on

all counsel of record, who are deemed to have consented to electronic service. Local Rule CV-

5(a)(3)(A).

                                                   /s/ Andrew M. McCoy




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